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                                             THE CITY OF NEW YORK                                                 Yi Liu, Esq.
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                                                                             September 3, 2024

        Via CM/ECF
        Honorable Judge LaShann DeArcy Hall
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

        Re:        Jean Jean & Kathleen Comack v. The Depart. of Ed. of The City of N.Y.,
                   No.: 24-CV-02264 (LB)

        Dear Judge Hall,

                I am an Assistant Corporation Counsel in the office of Muriel Goode-Trufant, Acting
        Corporation Counsel of the City of New York representing Defendant, the Department of
        Education of the City of New York (“DOE”), in the above referenced action. I am writing to
        respectfully request an extension to September 30, 2024, for Defendant to file its motion to dismiss.

                On July 9, 2024, Defendant filed a pre-motion letter seeking a pre-motion conference. On
        July 17, 2024, Plaintiffs filed a letter seeking a motion schedule and denial of Defendant’s request
        for a pre-motion conference. On August 2, 2024, the Court denied Defendant’s request for a pre-
        motion conference and set a motion schedule for Defendant to serve its motion to dismiss by
        September 3, 2024, Plaintiffs to serve their opposition by October 1, 2024, and Defendant to serve
        their reply by October 15, 2024.

                I respectfully request Defendant’s deadline to serve its motion to dismiss be extended to
        September 30, 2024, and the motion schedule be revised accordingly so that the deadline for
        Plaintiffs to serve their opposition be extended to October 30, 2024, and Defendant’s deadline to
        serve its reply be extended November 15, 2024. The revised motion schedule would not affect any
        other scheduled dates.

                This is Defendant’s first request to extend the time to file its motion to dismiss per the
        briefing schedule set by the Court. Today, I contacted Plaintiffs, via their phone numbers and email
        addresses, to request their consent and/or position on Defendant’s request. Plaintiffs have not
        responded.
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       The requested extension is necessary because I was assigned a case in July wherein
discovery had to be completed in August. This required reviewing approximately 5,700 documents
and producing them for the Plaintiff. I also had to prepare multiple filings that were due last week.

       For the reasons set forth above, I respectfully request a revised motion schedule and
extension of time for Defendant to file its motion to dismiss.

       Thank you for your time and consideration on this matter.

                                                              Respectfully submitted,


                                                              Yi Liu
                                                              Assistant Corporation Counsel
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Cc:    via e-mail and first-class mail
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